320 F.2d 917
    RISS &amp; COMPANYv.Sallie T. MOUNT, widow of John K. Mount, deceased.
    No. 7178.
    United States Court of Appeals Tenth Circuit.
    May 3, 1963.
    
      Appeal from the United States District Court for the Western District of Oklahoma.
      Green &amp; Feldman, Tulsa, Okl., for appellant.
      Little &amp; Hoyt, Oklahoma City, Okl., for appellee.
      Before MURRAH, Chief Judge, and BREITENSTEIN, Circuit Judge.
      PER CURIAM.
    
    
      1
      Appeal dismissed May 3, 1963, on motion of appellant.
    
    